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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ROBERT SPARKS                                 §
                                              §
        Petitioner,                           §
                                              §
v.                                            §          Civil Action No. 3:12-CV-469-N
                                              §                (Death Penalty Case)
LORIE DAVIS,                                  §
                                              §
        Respondent.                           §


                                   FINAL JUDGMENT

        By separate Order of this same date, the Court has denied Robert Sparks’ Amended

Petition for Writ of Habeas Corpus. It is, therefore, ordered that the claims in that petition

are dismissed with prejudice. All relief not expressly granted is denied. This is a final

judgment.

        SIGNED March 27, 2018.



                                                  _________________________________
                                                            David C. Godbey
                                                       United States District Judge




FINAL JUDGMENT – SOLO PAGE
